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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )            8:08CR7
                     Plaintiff,                   )
                                                  )
       vs.                                        )             ORDER
                                                  )
TERRI BURTTON,                                    )
                                                  )
                     Defendant.                   )


       This matter is before the court on the motion of Jeffrey L. Thomas and the Office of
the Federal Public Defender for the District of Nebraska to withdraw as counsel for the
defendant, Terri Burtton (Burtton) (Filing No. 13). Mr. Thomas represents he has a conflict
of interest in this matter. Mr. Thomas’s and the Office of the Federal Public Defender’s
motion to withdraw (Filing No. 13) is granted.
       Glenn A. Shapiro, 1001 Farnam Street, Omaha, NE 68102, (402) 341-0700, is
appointed to represent Burtton for the balance of these proceedings pursuant to the
Criminal Justice Act. Mr. Thomas shall forthwith provide Mr. Shapiro with the discovery
materials provided the defendant by the government and such other materials obtained by
Mr. Thomas which are material to Burtton’s defense.
       The clerk shall provide a copy of this order to Mr. Shapiro and he shall enter his
appearance in this matter forthwith.
       IT IS SO ORDERED.
       DATED this 25th day of January, 2008.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
